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 1    DENIS J. McINERNEY
      Chief
 2    CHARLES LA BELLA
      Deputy Chief
 3    THOMAS B.W. HALL
      Trial Attorney
 4    Fraud Section, Criminal Division
      U.S. Department of Justice
 5    1400 New York Avenue, NW
      Washington, DC 20530
 6    (202) 616-1682

 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                    -o0o-
10
      UNITED STATES OF AMERICA,           )
11                                        )
              Plaintiff,                  )
12                                        )                 2:12-cr-113-JCM-VCF
         v.                               )
13                                        )                 UNOPPOSED MOTION TO CONTINUE
                                          )                 SENTENCING
14                                        )
      ROSALIO ALCANTAR                    )
15    PATRICK BERGSRUD                    )
      ROBERT BOLTEN                       )
16    GLENN BROWN                         )
      PAUL CITELI                         )
17    MICHELLE DELUCA                     )
      CHARLES HAWKINS                     )
18    SAMI HINDIYEH                       )
      BRIAN JONES                         )
19    LISA KIM                            )
      MORRIS MATTINGLY                    )
20    ARNOLD MEYERS                       )
      ANTHONY WILSON                      )
21    JEANNE WINKLER                      )
                                          )
22                                        )
                         Defendants.      )
23    ____________________________________)

24             COMES NOW, the United States of America, by and through DENIS J. MCINERNEY,

25    Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and THOMAS B.W. HALL,

26    Trial Attorney, U.S. Department of Justice, Criminal Division, Fraud Section, and moves to
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 1    continue the following sentencing hearings set for the following dates and times:

 2               •     Rosalio Alcantar, February 4, 2013, 10 am

 3               •     Patrick Bergsrud, February 7, 2013, 10:30 am

 4               •     Robert Bolten, February 4, 2013, 10:30 am

 5               •     Glenn Brown, February 4, 2013, 11 am

 6               •     Paul Citelli, February 8, 2013, 10:30 am

 7               •     Michelle DeLuca, February 5, 2013, 10 am

 8               •     Charles Hawkins, February 5, 2013, 10:30 am

 9               •     Sami Hindiyeh, February 6, 2013, 10 am

10               •     Brian Jones, February 6, 2013, 10:30 am

11               •     Lisa Kim, February 6, 2013, 10 am

12               •     Morris Mattingly, February 7, 2013, 10 am

13               •     Arnold Myers, February 7, 2013, 11 am

14               •     Anthony Wilson, February 8, 2013, 10 am

15               •     Jeanne Winkler, February 8, 2013, 10:30 am

16               The parties respectfully request this Honorable Court to continue these Sentencing

17    Hearings until at least August 1, 2013 to allow time for the defendants to complete their

18    cooperation or, in the alternative, to continue the Sentencing Hearings and set a status conference

19    within 6 months to report to the Court on the on-going investigation and the defendants’

20    cooperation in connection with the investigation.

21               This is the first request to continue these Sentencing Hearings.

22               Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following

23    reasons:

24               1. The defendants have entered plea agreements with the United States that require the

25    defendants to cooperate with the United States in connection with its on-going investigation of a

26    fraudulent scheme involving Las Vegas Home Owners Associations. The defendants have begun
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 1    to cooperate with the United States in this investigation, which involves a number of potential co-

 2    conspirators and targets.

 3               2. The defendants’ Plea Agreements afford the defendants potential consideration for

 4    downward departures at the time of sentencing if the defendant has provided substantial assistance

 5    to the United States, including the possibility of a United States Sentencing Guideline (U.S.S.G.) §

 6    5K1.1 Motion.

 7               3. The United States anticipates future pleas, indictments and the possibility of one or

 8    more trials of co-conspirators and targets. These events may allow the defendants the opportunity

 9    to provide further cooperation as witnesses, including the possibility of testifying at trial.

10    However, the United States expects the resolution of such cases, including any trials in any related

11    cases, to be at least 6 months from the defendants’ current sentencing dates.

12               4. Counsel for the United States has spoken with counsel for each defendant and counsel

13    have agreed that the requested continuances are in the best interest of justice and counsel do not

14    oppose the continuance sought herein. The defendants are not in custody.

15               5. Denial of this request for continuance would deny the parties sufficient time and

16    opportunity to develop the defendants’ cooperation against the related co-conspirators and targets

17    and prepare related cases for prosecution.

18               6. Furthermore, denial of this request for continuance could result in a miscarriage of

19    justice.

20    /

21    /

22    /

23    /

24    /

25    /

26    /
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 1             7. The United States also requests an order to exclude the additional time requested by

 2    this continuance in computing the time within which the trial herein must commence pursuant to

 3    the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A), when considering the

 4    factors under Title 18, United States Code, Section 3161(h)(7)(B)(I) and 3161(h)(7)(B)(iv).

 5             DATED this 12th day of December 2012.

 6                                                        Respectfully submitted,

 7                                                        DENIS J. MCINERNEY
                                                          Chief
 8                                                        United States Department of Justice
                                                          Criminal Division, Fraud Section
 9
                                                          /s/ Thomas B.W. Hall
10                                                        THOMAS B.W. HALL
                                                          Trial Attorney
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 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                     -o0o-
 4    UNITED STATES OF AMERICA,           )
                                          )
 5            Plaintiff,                  )
                                          )                    2:12-cr-113-JCM-VCF
 6       v.                               )
                                          )                    PROPOSED ORDER: UNOPPOSED
 7                                        )                    MOTION TO CONTINUE SENTENCING
      ROSALIO ALCANTAR                    )
 8    PATRICK BERGSRUD                    )
      ROBERT BOLTEN                       )
 9    GLENN BROWN                         )
      PAUL CITELI                         )
10    MICHELLE DELUCA                     )
      CHARLES HAWKINS                     )
11    SAMI HINDIYEH                       )
      BRIAN JONES                         )
12    LISA KIM                            )
      MORRIS MATTINGLY                    )
13    ARNOLD MEYERS                       )
      ANTHONY WILSON                      )
14    JEANNE WINKLER                      )
                                          )
15                                        )
                    Defendants.           )
16    ____________________________________)
17

18                                           FINDINGS OF FACT
19             Based on the Government’s pending Unopposed Motion to Continue Sentencing, and
20    good cause appearing therefore, the Court hereby finds that:
21             1. The parties are in agreement to continue the Sentencing dates as presently scheduled.
22             2. This Court is convinced that an adequate showing has been made that to deny this
23    request for continuance, taking into account the exercise of due diligence, would deny the United
24    States sufficient time to be able to effectively prepare for the co-conspirator and target trials and
25    would bar the defendants from the opportunity to cooperate and potentially receive downward
26    departures at the time of sentencing. This decision is based on the following findings:
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 1             a. The defendants agreed in their plea agreements to cooperate against his coconspirators
 2    in any related indictments and trials.
 3             b. The United States agreed to consider downward sentencing concessions for the
 4    defendants’ cooperation, including possible U.S.S.G. 5K1.1 Motions if substantial assistance
 5    resulted from such cooperation.
 6             c. The United States anticipates several additional pleas, indictments and trials in related
 7    cases, but not sooner than 6 months from now.
 8             d. The parties need additional time to prepare the defendants’ cooperation against other
 9    co-conspirators and targets.
10             e. The defendants do not object to the continuance.
11             f. The defendants are out of custody.
12             3. For all the above-stated reasons, the ends of justice would best be served by continuing
13    the Sentencing date.
14             4. The additional time requested by this Stipulation is excludable in computing the time
15    within which the trial herein must commence pursuant to the Speedy Trial Act, 18 U.S.C. Section
16    3161(h)(8)(A), considering the factors under 18 U.S.C. Sections 3161(h)(8)(B)(I) and (v).
17                                                  ORDER
18             IT IS THEREFORE ORDERED that the Sentencing dates currently setas described
19    below are vacated and continued. This delay is excluded from the time within which the trial must
20    commence pursuant to the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A).
21    It is further ordered that the defendants’ sentencing hearings are set as follows:
22    Rosalio Alcantar, February 4, 2013, 10 am (first) August 27, 2013, at 10:30 a.m.
23             •                        August 27, 2013,2013,
                      Patrick Bergsrud, ______________,  at 11:00  a.m.
                                                              at ________
24             •                     August 27, 2013,2013,
                      Robert Bolten, ______________,  at 1:30  p.m.
                                                           at ________
25             •      Glenn Brown,August 27, 2013, 2013,
                                  ______________,  at 2:00
                                                         at p.m.
                                                            ________
26             •      Paul Citelli, ______________,
                                    August 28, 2013,2013, at ________
                                                     at 9:30 a.m.
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 1           •                    August 28, 2013,2013,
                 Michelle DeLuca, ______________,  at 10:00  a.m.
                                                        at ________
 2           •                    August 28, 2013,2013,
                 Charles Hawkins, ______________,  at 10:30  a.m.
                                                        at ________
 3           •   Sami Hindiyeh, ______________,
                                August 28, 2013,2013, at ________
                                                 at 11:00  a.m.
 4           •   Brian Jones, ______________,
                              August 28, 2013,2013, at ________
                                               at 1:30  p.m.
 5           •             August 28, 2013,2013,
                 Lisa Kim, ______________,  at 2:00  p.m.
                                                 at ________
 6           •                     August 29, 2013,2013,
                 Morris Mattingly, ______________,  at 9:30 a.m.
                                                         at ________
 7           •                 August 29, 2013,2013,
                 Arnold Myers, ______________,  at 10:00  a.m.
                                                     at ________
 8           •                   August 29, 2013,2013,
                 Anthony Wilson, ______________,  at 10:30  a.m.
                                                       at ________
 9           •                   August 29, 2013,2013,
                 Jeanne Winkler, ______________,  at 11:00  a.m.
                                                       at ________
10

11                      December
                 DATED this        19,of2012.
                            _____ day    _____________, 2012.
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14                     _________________________________
                       UNITED STATES DISTRICT JUDGE
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